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11
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12
                              NORTHERN DISTRICT OF CALIFORNIA
13

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15   GEMMA RIVERA and MARISA FRANZ, on               Case No. 5:22-cv-02137-EJD
     behalf of themselves and all others similarly
16   situated,                                       Hon. Edward J. Davila
17                     Plaintiffs,                   DEFENDANT KNIX WEAR INC.’S
                                                     NOTICE OF MOTION AND MOTION
18          v.                                       FOR RULE 11 SANCTIONS;
                                                     MEMORANDUM OF POINTS AND
19   KNIX WEAR INC.,                                 AUTHORITIES IN SUPPORT OF
                                                     THEREOF
20                     Defendant.
                                                     Hearing Date: November 10, 2022
21
                                                     Time: 9:00 am
22
                                                     Courtroom: 4—5th Floor
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 1                      NOTICE OF MOTION AND MOTION FOR SANCTIONS
 2          PLEASE TAKE NOTICE that on November 10, 2022 at 9:00 am in Courtroom 4, before
 3   the Honorable Edward J. Davila, Defendant Knix Wear Inc. will and hereby does move this Court
 4   for an order for Sanctions, pursuant to Rule 11 of the Federal Rules of Civil Procedure, on the
 5   grounds that Plaintiffs’ counsel did not conduct a reasonable and competent inquiry prior to filing
 6   this lawsuit and the First Amended Complaint to confirm that Plaintiffs’ key factual contentions
 7   have evidentiary support.
 8          Defendant request sanctions in the form of: (1) an order striking the allegations in Plaintiffs’
 9   First Amended Complaint that Defendant’s products contain fluorine, PFAS or fluorine indicative
10   of PFAs, or otherwise suggesting that Defendant’s products are unsafe or not sustainable; (2) an
11   order that Plaintiffs’ counsel pay Defendant’s costs and attorneys’ fees for bringing this motion and
12   defending this matter; and (3) any additional sanctions or other relief the Court determines to be
13   just and proper.
14          This Motion is based on this Notice of Motion and Motion, the accompanying
15   Memorandum of Points and Authorities, the concurrently filed Declarations of Joanna Griffiths and
16   Michael M. Maddigan and exhibits thereto, the pleadings, records, and files in this action, and any
17   argument that the Court may entertain at any hearing on this matter.
18
     Date: June 11, 2022                     HOGAN LOVELLS US LLP
19
20
                                                  By: /s/ Michael M. Maddigan
21                                                    Michael M. Maddigan (Bar No. 163450)
                                                      Attorney for Defendant
22                                                    KNIX WEAR INC
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 1

 2                        MEMORANDUM OF POINTS AND AUTHORITIES
 3           Defendant Knix Wear Inc. (“Knix”) respectfully submits this Memorandum of Points and
 4   Authorities in Support of Its Motion for Sanctions under Rule 11 of the Federal Rules of Civil
 5   Procedure.
 6   I.      INTRODUCTION
 7           This consumer protection lawsuit hinges entirely on the allegation that certain Knix
 8   leakproof menstrual underwear products purportedly contain fluorine, a chemical that Plaintiffs
 9   contend is an “indicator” that the products may also contain potentially harmful polyfluoroalkyl
10   substances (“PFAS”). Plaintiffs contend that Knix’s representations that its products are free
11   from PFAS and fluorine, based on Knix’s extensive testing conducted by third-party laboratories,
12   are inaccurate or misleading. But Plaintiffs and their counsel, Sean Litteral and Rachel Miller of
13   the law firm Bursor & Fisher, P.A., have no idea whether any Knix product actually contains
14   fluorine or not, let alone the specific type of fluorine (organic fluorine) that can potentially
15   indicate the presence of PFAS. Indeed, they conducted no independent investigation whatsoever
16   to even attempt to confirm the truth of that assertion.
17           Plaintiffs’ allegation that Knix products contain fluorine – and their resulting implication
18   that those products may contain PFAS – is based entirely on a blog post published by
19   “Mamavation,” an affiliate “mom blogger” with no scientific background who receives financial
20   compensation from various apparel brands, including Knix competitors, for directing its readers
21   to those competitors’ websites. Mamavation claims that it sent menstrual underwear samples
22   manufactured by Knix and several other companies to an unidentified lab, which purportedly
23   found traces of fluorine in two Knix products. Mamavation does not, however, provide any detail
24   regarding how the testing was conducted that would allow Mr. Litteral, Ms. Miller, this Court, or
25   anyone else to assess its reliability – it did not post the test results, identify the testing procedures
26   or testing conditions or explain how the samples were collected and prepared (or whether any
27   precautions were taken to prevent fluorine contamination from external sources). Those factors
28   are important, because fluorine is ubiquitous in the environment and Mamavation itself
                                                        2
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 1   acknowledges that fluorine detection can result from contamination before or during the testing
 2   process. Additionally, the Mamavation blog fails to indicate whether the Knix products
 3   purportedly tested positive for organic fluorine, which can potentially suggest the presence of
 4   PFAS,1 or inorganic fluorine (such as fluoride salts and minerals), which cannot – a key
 5   distinction Mamavation acknowledges in some of its other blog posts involving other products.
 6   This is particularly important, because total fluorine (and specifically inorganic fluorine) is not a
 7   potential indicator for PFAS, and Mamavation’s failure to distinguish between organic and
 8   inorganic fluorine should have lead a diligent attorney to conclude that the blog post alone cannot
 9   reasonably be used as the basis for filing a PFAS lawsuit against Knix. This distinction is
10   especially critical here because Mr. Litteral has acknowledged the difference between organic and
11   inorganic fluorine in multiple lawsuits he has filed against other companies, yet conveniently
12   ignores it in this case, instead relying on Mamavation’s results to support a proposition he knows
13   to be inaccurate.
14            Nevertheless, in February 2022, Mr. Litteral sent Knix a letter threatening to file a class
15   action lawsuit alleging that various Knix products contain PFAS, based entirely on the
16   Mamavation blog post. Knix provided a detailed response, pointing out numerous reasons why
17   Mamavation’s reports of fluorine detection are unreliable and providing a link to Knix’s actual
18   PFAS and fluorine testing reports that have been available on Knix’s website since January 2020
19   (and updated regularly since that time). Those reports show no detected PFAS or fluorine in the
20   products at issue. Knix also asked Mr. Litteral whether he or his firm had conducted or was
21   aware of any independent testing – other than the anonymous testing reported by Mamavation –
22   that showed either PFAS or fluorine in Knix products. Mr. Litteral refused to engage. Instead, he
23   and Ms. Miller simply filed this lawsuit, asserting in a complaint signed pursuant to Rule 11 that
24   Knix products contain PFAS and fluorine. After the filing, Knix sent another letter to Mr. Litteral
25

26   1
         As discussed below, even organic fluorine testing methods are subject to interference from
27   various non-PFAS substances and contaminants; thus positive results do not necessarily indicate
28   the presence of PFAS.
                                                         3
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 1   and Ms. Miller, advising them that the filing violated Rule 11 and that Knix intended to proceed
 2   with a motion. The next day, Mr. Litteral and Ms. Miller filed an amended complaint, removing
 3   direct allegations that Knix products contain PFAS, but repeating their unfounded allegations that
 4   the products “contain[] fluorine which indicates the presence of PFAS,” again premised entirely
 5   on the dubious Mamavation report of anonymous testing using a method that they know does not
 6   even support that claim.
 7            Rule 11 exists to prevent this very type of “file first and ask questions later” pleading.
 8   The license to practice law grants lawyers a privilege to file defamatory statements in court that,
 9   in any other circumstance, would subject the publisher to a libel lawsuit and a judgment in
10   damages. That is why Rule 11 imposes an obligation on the signing attorney to establish an
11   evidentiary basis for claims prior to filing a complaint, including that all factual statements have
12   evidentiary support. The Rule requires that the filing attorney personally conduct a reasonable
13   investigation; it does not allow him to simply regurgitate unsupported and defamatory accusations
14   from internet bloggers who are not subject to Court rules. By asserting that Knix products
15   contain potentially harmful chemicals in a publicly-filed pleading, without any personal
16   investigation whatsoever, Mr. Litteral and Ms. Miller have completely ignored their Rule 11
17   obligations, and have caused Knix to incur significant costs of defense as well as substantial
18   reputational harm.
19   II.      BACKGROUND
20            A.     Knix

21            Knix is a Toronto-based company that manufacturers several different types of intimates
22   and leisurewear products, including underwear, bras, swimwear and active wear. (Griffiths Decl.
23   ¶ 2).2 Knix’s most well-known product is its “Leakproof Underwear” – a patented line of period
24   underwear first launched in 2013 as a sustainable alternative to single-use pad and tampon
25   menstrual solutions. (Id. ¶ 3). Many disposable menstrual products contain plastics and other
26

27   2
         Reference is made to the Declaration of Joanna Griffiths dated May 19, 2022 (“Griffiths
28   Decl.”), filed simultaneously herewith.
                                                         4
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 1   non-degrading chemicals, including tampon applicators, the sticky layer of many brands of pads,
 2   product wrappers and other packaging materials, which end up in landfills after a single use. (Id.
 3   ¶ 4). Knix’s period underwear products are designed to be washed and reused dozens or even
 4   hundreds of times, which allows customers another way to cut down on single-use plastics. (Id. ¶
 5   5). Leakproof underwear provides the wearer with peace of mind regarding potential period leaks
 6   and has been viewed as a monumental step in gender and period equality. (Id. ¶ 6).
 7            Knix’s patented Leakproof Underwear is made up of separate layers of materials designed
 8   to absorb and move moisture away from the skin, while preventing moisture from leaking through
 9   the product. (Id. ¶ 7). Knix offers different products with varying levels of absorbency designed
10   for different portions of the menstrual cycle, but generally each product contains three layers – a
11   moisture-wicking cotton-based layer nearest the skin, an absorbent “moisture-locking” layer in
12   the middle and a moisture-impermeable outer layer to prevent leaking. (Id. ¶ 8).
13            B.     PFAS and Fluorine

14            PFAS (per- and polyfluoroalkyl substances) are synthetic chemicals that are widely used
15   by some manufacturers in various consumer, commercial and industrial products. (See First
16   Amended Complaint (“FAC”), ECF No. 9, ¶¶ 2, 29-30; Ex. 1).3 There are thousands of different
17   PFAS, some of which have been more widely used and studied than others, but one common
18   characteristic is that many PFAS break down very slowly. (Ex. 1). Because of their widespread
19   use and the persistence of some PFAS in the environment, PFAS are found throughout the world
20   in water, air and soil. (Id.). However, the EPA has advised that health effects associated with
21   PFAS are “difficult to specify” for several reasons, including that “[t]here are thousands of PFAS
22   with potentially varying effects of toxicity levels, yet most studies focus on a limited number of
23   better known PFAS chemicals,” and that the “types and uses of PFAS change over time, which
24   makes it challenging to track and assess how exposure to these chemicals occurs and how they
25

26

27   3
         A copy of United States Environmental Protection Agency (“EPA”), “PFAS Explained,” is
28   attached as Exhibit 1, and also is available at: https://www.epa.gov/pfas/pfas-explained.
                                                         5
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 1   will affect human health.” (Ex. 2).4 In recent years, companies across several different
 2   industries have come under fire for using PFAS in their products.5
 3            All PFAS compounds contain the element fluorine (that is the “F” in “PFAS”). However,
 4   fluorine can exist in either organic fluorine or inorganic fluoride molecules, which have distinct
 5   chemical properties. The type of fluorine contained in PFAS is organic fluorine.6 PFAS do not
 6   contain inorganic fluoride, which exist naturally in the environment in several different forms,
 7   including in drinking water and salt water. Inorganic fluorides (compounds containing fluorine)
 8   also are found in many common food items, such as black tea, raisins, potatoes and lettuce. (See
 9   Ex. 3).7
10            One way to screen for the potential presence of PFAS in a product is to test it for organic
11   fluorine. Importantly, however, testing a product for total fluorine, without first taking steps to
12   remove any inorganic sources of fluorine from the sample, is not a reliable indicator of whether
13   the product could contain PFAS, because positive total fluorine results could be caused by the
14

15   4
         A copy of EPA, “Our Current Understanding of the Human Health and Environmental Risks of
16   PFAS,” is attached as Exhibit 2, and also is available at: https://www.epa.gov/pfas/our-current-
17   understanding-human-health-and-environmental-risks-pfas.
18   5
         See Emily Field, “What to Know About the Growing PFAS Litigation,” Law 360 (Feb 23,
19   2022), available at: https://www.law360.com/articles/1466351.
20   6
         PFAS are organic fluorinated compounds, meaning that they contain carbon. The root “alkyl”
21   in the terms per- and polyfluoroalkyl substances (PFAS) refers to alkanes, a specific type of
22   carbon-based structure. By definition, chemicals that contain carbon are organic chemicals,
23   whereas chemicals that do not contain carbon are inorganic chemicals. See generally https://pfas-
24   1.itrcweb.org/2-2-chemistry-terminology-and-acronyms/ (discussing the chemistry and
25   terminology of PFAS).
26   7
         A copy of Anne Helmenstine, “What Is Fluoride? Fluoride vs. Fluorine,” Science Notes (Sept.
27   30, 2021), cited in the FAC at paragraph 54, is attached as Exhibit 3, and also is available at:
28   https://sciencenotes.org/what-is-fluoride-fluoride-vs-fluorine/.
                                                       6
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 1   presence of inorganic rather than organic fluorine. The EPA has acknowledged this crucial
 2   distinction in published guidance relating to the use of fluorine testing to detect potential PFAS,
 3   and has expressly advised that “[r]emoving the background inorganic F- from the sample is
 4   important to make sure that the reported F- is organic.” (Ex. 4).8 It also recently proposed a new
 5   PFAS screening method by measuring organic fluorine, which expressly requires the removal of
 6   inorganic fluoride prior to testing.9 A positive result for fluorine (either organic or inorganic) also
 7   can result from contamination from other sources – if, for example, a cleaning solution is used on
 8   the product itself or a surface the product has come into contact with prior to testing, that
 9   contamination might cause a positive result even where the product itself is fluorine-free.10 Thus,
10   for several reasons, a positive result for fluorine – and particularly total fluorine – does not
11   necessarily mean that a product contains PFAS.11
12

13   8
          Impellitteri, C.A., Mills, M., Gillespie, A., “Update on PFAS Analytical Methods,” US EPA
14   Office of Research and Development, attached as Exhibit 4 and also available at:
15   https://cfpub.epa.gov/si/si_public_file_download.cfm?p_download_id=540520&Lab=CESER.
16   9
          See EPA, Draft Method 1621 (April 2022), available at:
17   https://www.epa.gov/system/files/documents/2022-04/draft-method-1621-for-screening-aof-in-
18   aqueous-matrices-by-cic_0.pdf.
19   10
          See id. § 4.0 (discussing potential sources of fluoride cross-contamination that can impact
20   fluorine screening results, including “solvents, reagents, glassware or plasticware” used in the
21   testing lab).
22   11
          The United States District Court for the Central District of California explained the distinction
23   in dismissing a complaint that relied solely on fluorine testing to support a claim that a product
24   contained PFAS:
25
               Plaintiff's sole authority for its allegation that “Oral-B Glide dental floss
26             contain[s] ... elevated amounts of PFASs” is the PFASs Study. But the PFASs
               Study doesn’t adequately support this allegation. Rather, the PFASs Study
27             “hypothes[ized]” that Defendant's Oral-B Glide might be “a potential exposure
               source for PFASs.” And that hypothesis was based on screening Defendant’s
28             dental floss for fluorine, which indicates that PFASs might be present.
                                                         7
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 1            C.     PFAS and Menstrual Underwear
 2            Knix has always been committed to ensuring that its products are safe for consumers.
 3   Starting in 2015, Knix made the decision to source the technical fabrics used in its period
 4   underwear from a supplier based in Italy, precisely because of the European Union’s laws
 5   restricting the use of PFAS. (Griffiths Decl. ¶ 9). Knix also opted to develop fabrics with
 6   inherent physical properties to achieve its products’ leakproof functionality – such as cotton with
 7   perforated holes to move moisture through the material and a moisture-impermeable fabric layer
 8   – instead of adding PFAS. (Id. ¶ 10). Knix has never intentionally added PFAS to its products.
 9   (Id.).
10            In January 2020, an investigative report published in the Sierra Club magazine revealed
11   that menstrual underwear manufactured by a Knix competitor contained high levels of fluorine,
12   based on testing conducted by a University of Notre Dame laboratory. (Ex. 5).12 The scientist
13   responsible for the testing, Dr. Graham Peaslee, opined that the high level of fluorine detected
14   likely indicated the presence of PFAS, rather than fluorine present through environmental
15   contamination. (Ex. 6).13 The investigative report touched off a media firestorm and resulted in
16

17
     Andrews v. Procter & Gamble Co., No. EDCV-19-00075-AG-(SHKx), 2019 WL 6520045, at *3
18
     (C.D. Cal. June 3, 2019) (dismissing complaint where plaintiff “clearly overstate[d]” the findings
19
     of fluorine-testing study in alleging that a product contained PFAS) (citations omitted, emphasis
20
     in original).
21
     12
          A copy of Jessian Choy, “My Menstrual Underwear Has Toxic Chemicals In It,” Sierra
22
     Magazine (Jan. 7, 2020) is attached as Exhibit 5, and also is available at:
23
     https://www.sierraclub.org/sierra/ask-ms-green/my-menstrual-underwear-has-toxic-chemicals-
24
     it?utm_source=twitter&utm_campaign=sierramag&utm_medium=social.
25
     13
          A copy of Jessian Choy, “New Independent Study Confirms PFAS in Thinx, Other Products,”
26
     Sierra Magazine (Jun. 3, 2021) is attached as Exhibit 6, and also is available at:
27
     https://www.sierraclub.org/sierra/ask-ms-green/new-independent-study-confirms-pfas-thinx-
28
                                                       8
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 1   the filing of multiple consumer protection lawsuits against the competitor. See Kanan v. Thinx,
 2   No. 2:20-cv-10341-JVS-JPR (N.D. Cal. Nov. 12, 2020); Blenis v. Thinx, No. 1:21-cv-11019-IT
 3   (D. Mass. June 18, 2021).
 4            Around this time, Knix engaged a third-party lab to directly test Knix’s finished products
 5   for certain PFAS commonly found in textiles. That testing did not detect any of those PFAS in
 6   any Knix menstrual underwear products. (Ex. 7).14 Knix also engaged a separate laboratory to
 7   test its products for organic fluorine (again, the type of fluorine that is present in PFAS). (Id.).
 8   Those results also came back negative. (Id.). Knix continues to conduct routine PFAS and
 9   organic fluorine testing on its products, requires its suppliers to conduct PFAS testing of all
10   components of the product, and has posted a detailed explanation of its testing processes and
11   sample results on its website. (Id.). Knix’s founder and CEO, Joanna Griffiths, also started a
12   change.org petition to advocate for stricter regulation of PFAS in period underwear and of PFAS-
13   related claims in consumer products generally. (Ex. 8).15
14            D.     The Mamavation Blog Post

15            Notwithstanding Knix’s test results and advocacy for stricter regulation of PFAS, on July
16   14, 2021, a blogger who operates a blog called “Mamavation” published a post claiming that
17   various period underwear brands’ products, including Knix products, had tested positive for
18

19
20   other-
21   products#:~:text=Peaslee%20and%20his%20team%20found,All%20PFAS%20have%20fluorine.
22   14
          A copy of “Knix News: Yes. Knix Underwear are Toxic Chemical Free” (Jan. 21, 2020) is
23   attached as Exhibit 7, and also is available at: https://knix.com/blogs/knix-blog/yes-knix-
24   underwear-are-toxic-chemical-free.
25   15
          A copy of “Change.org: No More Toxins in My Underwear: A Demand for Stricter Consumer
26   Safety Regulations” is attached as Exhibit 8, and also is available at:
27   https://www.change.org/p/consumer-product-safety-commission-create-customer-safety-
28   regulations-within-women-s-intimate-apparel-industry?redirect=false.
                                                    9
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 1   fluorine and thus, according to her, contained PFAS. (FAC ¶¶ 37-39; Ex. 9).16 Mamavation
 2   describes itself as a “consumer watchdog, author, activist, community organizer, & strategist,”
 3   but does not claim to have any scientific education or background. (Ex. 10).17 Mamavation
 4   claims that its post about period underwear that included Knix “was medically reviewed by
 5   Sondra Strand, RN, BSN, PHN,” but does not provide any information about Ms. Strand’s
 6   background or indicate whether she has any expertise relating to PFAS or fluorine testing in the
 7   textile industry. (Ex. 9).
 8            Mamavation claims that two styles of Knix period underwear – specifically, Knix High
 9   Rise underwear and Knix Boyshorts – were tested for “total fluorine” by an “EPA-certified
10   laboratory,” and that the lab found 373 ppm of fluorine in the High Rise product and 43 ppm of
11   fluorine in the Boyshorts product. (Id.). The blog post does not identify the lab or explain what
12   is meant by “EPA-certified” – an odd descriptor given that the EPA does not require or award any
13   “certification” for conducting PFAS or fluorine testing of textile products, nor has it promulgated
14   any relevant standards for such testing. Mamavation also does not provide a copy of the test
15   results themselves or indicate how many pairs of each product were tested. Nor does it provide
16   any information regarding the testing procedures or conditions or what precautions (if any) were
17   taken to ensure that the results were not impacted by external contamination. And, it does not
18   claim to have tested any Knix product for the presence of organic fluorine, which is telling
19   because in other blog posts Mamavation has acknowledged that “[n]on-detect products only
20   required one test for total fluorine, however, [products with] detectable amounts [of total fluorine]
21

22

23   16
          A copy of “Mamavation: Knix Period Underwear ‘PFAS’ Forever Chemicals Laboratory
24   Results” (July 14, 2021) is attached as Exhibit 9, and also is available at:
25   https://www.mamavation.com/brands/knix-period-underwear-pfas-forever-chemicals-laboratory-
26   results.html.
27   17
          A copy of “Mamavation: Leah Segedie’s Official Bio” is attached as Exhibit 10, and also is
28   available at: https://www.mamavation.com/about-leah-segedie.
                                                  10
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 1   required a second test to determine organic fluorine.” (See, e.g., Exs. 11-13).18
 2            Nevertheless, Mamavation ranked Knix’s High Rise product as “not our favorite” because
 3   her testing purportedly found above 100 ppm total fluorine. (Ex. 14).19 Of course, that 100 ppm
 4   threshold is not based on any industry standard applicable to fabrics. Mamavation simply
 5   coopted a standard “used to determine if food packaging is compostable,” and assumed that
 6   standard would translate to fabrics. (Id.). The blog acknowledges that it is “not a perfect
 7   standard,” “make[s] no claims as to how much fluorine is dangerous vs. safe for dermal exposure
 8   in your vaginal area” (if any) and admits that “[w]e simply do not know.” (Id.). Indeed,
 9   Mamavation uses different standards for testing different products, such as a 10 ppm standard for
10   activewear, and appears to select arbitrary thresholds that will allow for sensationalized headlines.
11

12   18
          A copy of “Mamavation: PFAS Found in Organic Tomato Pasta Sauce – Purchasing Guide
13   2022” (Apr. 12, 2022) is attached as Exhibit 11, and also is available at:
14   https://www.mamavation.com/food/pfas-in-organic-tomato-pasta-sauce-purchasing-guide.html;
15   see also “Mamavation: Green Beauty Cosmetic Guide – PFAS ‘Forever Chemicals’ & Makeup”
16   (Nov. 30, 2021), a copy of which is attached as Exhibit 12, and also is available at:
17   https://web.archive.org/web/20211202015804/https://www.mamavation.com/beauty/green-
18   beauty-cosmetic-makeup-guide-pfas-forever-chemicals.html (stating that if total fluorine was
19   detected at a level above 10 ppm, the lab “then did a calculation to determine organic fluorine
20   amounts”); “Mamavation: PFAS ‘Forever Chemicals’ in My LuLaRoe Leggings? Lab Reports”
21   (Oct. 27, 2021), a copy of which is attached as Exhibit 13, and also is available at:
22   https://www.mamavation.com/product-investigations/lularoe-leggings-pfas-forever-
23   chemicals.html (stating that after determining the total fluorine content, “a calculation is done to
24   determine the amount of organic fluorine, which is indicative of PFAS.”).
25   19
          A copy of “Mamavation: Report: 65% of Period Underwear Tested Likely Contaminated with
26   PFAS Chemicals” (May 24, 2021) is attached as Exhibit 14, and also is available at:
27   https://www.mamavation.com/health/period-underwear-contaminated-pfas-
28   chemicals.html#Mamavations_Investigation_of_Period_Panties_Period_Underwear.
                                                 11
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 1   (Compare Ex. 14 with Ex. 15).20
 2            Tellingly, Mamavation receives compensation for recommending products by brands that
 3   meet its arbitrary thresholds. It even provides “affiliate links” and discount codes to websites
 4   operated by half-a-dozen Knix competitors and encourages its readers to purchase those
 5   competitors’ menstrual underwear products. (Ex. 9). Indeed, one of the Knix-related posts was
 6   publicly criticized in comments by readers for failing to clearly disclose that Mamavation
 7   received a commission based on reader purchases. (Ex. 14). Other blog posts and a separate
 8   “Affiliate Disclosure” page, which appears to have been added to the website later in response to
 9   user comments, make clear that Mamavation receives compensation from the Knix competitors
10   she recommends. (Exs. 16, 17).21
11            E.      Plaintiffs’ Demand Letter and Complaint

12            By letter dated February 25, 2022, Mr. Litteral notified Knix of his intent to file the
13   present lawsuit. (Ex. 18).22 Mr. Litteral’s letter, apparently sent for purposes of complying with
14

15   20
          A copy of “Mamavation: Non-Toxic Activewear Guide: PFAS ‘Forever Chemicals’ in
16   Workout Leggings & Yoga Pants” (Jan. 18, 2022) is attached as Exhibit 15, and also is available
17   at: https://www.mamavation.com/product-investigations/non-toxic-activewear-guide-pfas-
18   workout-leggings-yoga-pants.html.
19   21
          A copy of “Mamavation: Non Toxic Alternatives to Thinx Period Underwear (Without
20   PFAS)” (Jan. 20, 2020) is attached as Exhibit 16, and also is available at:
21   https://www.mamavation.com/health/thinx-period-panties-test-positive-for-pfas.html (providing
22   discount codes, such as “MAMA” or “MAMAV10,” to purchase period underwear from
23   recommended brands). A copy of “Mamavation: Affiliate Disclosure” is attached as Exhibit 17,
24   and also is available at: https://www.mamavation.com/affiliate-disclosure. The FAC describes
25   Mamavation as a “non-profit organization” (FAC ¶ 27), but Mamavation does not represent itself
26   to be a “non-profit” anywhere on the website and is not listed in the IRS’s database of tax exempt
27   organizations. See https://apps.irs.gov/app/eos/allSearch.
28   22
          A copy of Mr. Litteral’s letter, dated February 25, 2022, is attached as Exhibit 18.
                                                         12
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 1   the CLRA’s 30-day pre-suit notice requirement, cited the Mamavation blog post, accused Knix’s
 2   products of containing PFAS and alleged that Knix had violated the CLRA and various
 3   warranties. (Id.). In conclusion, Mr. Litteral demanded that Knix make restitution to all
 4   purchasers of Knix products, or else he would file a class action lawsuit. (Id.).
 5            Knix responded by letter dated March 25, 2022. (Ex. 19).23 In that letter, Knix provided
 6   several reasons why Mamavation’s reports of anonymous testing are unreliable and insufficient to
 7   support the filing of a lawsuit consistent with Rule 11 obligations. (Id.). Knix also directed Mr.
 8   Litteral to a description of the testing Knix has conducted, together with samples of the actual test
 9   results, which contradict the Mamavation testing, and offered to discuss that testing in more detail
10   with Mr. Litteral. (Id.). Finally, Knix invited Mr. Litteral to share any independent testing he or
11   his firm may have conducted to support his assertions that Knix products contain PFAS. (Id.).
12   Mr. Litteral declined to engage. Instead, on April 4, he and Ms. Miller filed their original
13   complaint in this action, which largely parroted the accusations in the demand letter that Knix
14   products “contain PFAS” based on the Mamavation testing. (See ECF No. 1 at ¶¶ 1, 4, 37-39).
15            By letter dated April 6, 2022, Knix requested that Mr. Litteral and Ms. Miller withdraw
16   the complaint and dismiss the lawsuit, citing Rule 11. (Ex. 20).24 Knix pointed Mr. Litteral and
17   Ms. Miller to case law from this circuit dismissing previous attempts to conflate fluorine with
18   PFAS, see Andrews, 2019 WL 6520045, at *3, and also cited several relevant Rule 11 decisions
19   involving attorneys’ failure to conduct a reasonable independent investigation prior to filing a
20   lawsuit. (Id.).
21            On the next day, April 7, 2022, Mr. Litteral and Ms. Miller amended their complaint to
22   remove certain allegations – namely, those that directly stated that Knix products contained PFAS
23   – but declined to withdraw the complaint or cite any additional support for their allegations that
24   Knix products contain fluorine or that total fluorine testing (as opposed to organic fluorine
25   testing) is an “indicator” that a product contains PFAS.
26

27   23
          A copy of Knix’s response letter, dated March 25, 2022, is attached as Exhibit 19.
28   24
          A copy of Knix’s letter, dated April 6, 2022, is attached as Exhibit 20.
                                                         13
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 1            Mr. Litteral and Ms. Miller have filed at least half-a-dozen PFAS lawsuits in the last two
 2   months, all of which appear to rely entirely on third-party testing reported in articles, blog posts
 3   or litigation documents filed by other lawyers for their assertion that various products contain
 4   PFAS.25 Importantly, however, and as discussed in more detail in Section III.B below, other
 5   complaints filed by Mr. Litteral against other companies make clear that he understands that the
 6   total fluorine testing purportedly conducted by Mamavation and relied upon in this case may not
 7   indicate the presence of PFAS.
 8            While Plaintiffs’ FAC in this case contains several paragraphs of factual allegations that
 9   are cut-and-pasted word-for-word from the complaints in those lawsuits, it does not acknowledge
10   the distinction between organic and inorganic fluorine or that Mamavation’s testing may not
11   indicate the presence of PFAS. Knix is not in a position to comment as to Mr. Litteral and Ms.
12

13   25
          See, e.g., Hamman v. Cava Grp., Inc., 3:22-cv-00593-MMA-MSB, Dkt. No. 1 at ¶¶ 1, 4, 38
14   (S.D. Cal., Apr. 27, 2022) (S. Litteral; alleging that food packaging contains PFAS based on
15   testing conducted by Consumer Reports); Lupia v. Recreational Equip., Inc., No. 4:22-cv-02510-
16   JSC, Dkt. No. 1 at ¶¶ 1, 5 (N.D. Cal., Apr. 25, 2022) (S. Litteral & R. Miller; alleging that
17   waterproof jackets contain PFAS based on “independent research conducted by Toxic-Free
18   Future”); Hussain v. Burger King Corp., No. 4:22-cv-02258-HSG, Dkt. No. 1 at ¶¶ 4, 39-40
19   (N.D. Cal., Apr. 11, 2022) (S. Litteral; alleging that food packaging contains PFAS based on
20   testing conducted by Consumer Reports); Dawood v. Gamer Advantage, LLC, No. 2:22-cv-
21   00562-WBS-KJN, Dkt. No. 1 at ¶¶ 4-5, 21-22 (E.D. Cal., Mar. 28, 2022) (S. Litteral; alleging
22   that anti-fogging spray contains PFAS based on testing conducted by Duke University); Solis v.
23   Covergirl Cosmetics, No. 3:22-cv-00400-BAS-NLS, Dkt. No. 1 at ¶¶ 1, 4 (S.D. Cal., Mar. 25,
24   2022) (S. Litteral; alleging that cosmetic products contain PFAS based on “independent research
25   from Toxic Free USA,” and citing to a lawsuit that organization recently filed in D.C. Superior
26   Court); cf. Balistreri v. McCormick & Co., Inc., No. 5:22-cv-00349-EJD, Dkt. No. 1 at ¶¶ 2, 19-
27   21 (N.D. Cal. Jan. 18, 2022) (S. Litteral; alleging that spices contain toxic metals based on testing
28   conducted by Consumer Reports).
                                                       14
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 1   Miller’s pre-suit diligence with respect to those other cases, but here it is clear that they rushed to
 2   file the instant lawsuit using a template complaint based on the Mamavation post without even a
 3   modicum of independent investigation to determine the accuracy of their representations to this
 4   Court.
 5            F.     Media and Customer Response to Plaintiffs’ Unfounded Accusations

 6            Since Mr. Litteral and Ms. Miller filed their allegations that Knix products contain
 7   fluorine and/or PFAS, media coverage of this issue has increased and several articles, blog posts
 8   and other sources have drawn attention to the FAC. (Griffiths Decl. ¶ 11). As a result,
 9   individuals have cited the lawsuit in spreading misinformation regarding Knix products on social
10   media, and several customers have contacted Knix to demand refunds for products they
11   purchased based on the mistaken belief that those products contain harmful chemicals. (Id. ¶ 12).
12   III.     ARGUMENT
13            A.     Rule 11 Requires A Signing Attorney to Personally Conduct a Reasonable
                     Inquiry Into Factual Assertions in a Complaint
14
              Rule 11 requires an attorney to conduct a “reasonable and competent inquiry” prior to
15
     filing a lawsuit and certify that “the factual allegations have evidentiary support or, if specifically
16
     so identified, will likely have evidentiary support after a reasonable opportunity for further
17
     investigation or discovery.” Fed. R. Civ. P. 11; Holgate v. Baldwin, 425 F.3d 671, 676 (9th Cir.
18
     2005); Lloyd v. Schlag, 884 F.2d 409, 412 (9th Cir. 1989). That duty is non-delegable, and it
19
     requires that an attorney must “personally validate the truth and legal reasonableness of the
20
     papers filed.” See, e.g., In re Connetics Corp. Sec. Litig., 542 F. Supp. 2d 996, 1005 (N.D. Cal.
21
     2008) (imposing Rule 11 sanctions on attorney who relied on allegations made by others without
22
     investigating those allegations); Maine State Ret. Sys. v. Countrywide Fin. Corp., No. 2:10-CV-
23
     0302 MRP, 2011 WL 4389689, at *20 (C.D. Cal. May 5, 2011) (same). Importantly, “[u]nder
24
     Rule 11, Plaintiffs may not simply regurgitate” allegations from third-party sources – the rule
25
     requires an independent investigation. Attia v. Google LLC, No. 17-CV-06037-BLF, 2018 WL
26
     2971049, at *15 (N.D. Cal. June 13, 2018) (holding that allegations lifted from complaints in
27
     other lawsuits “should be disregarded unless and until Plaintiffs satisfy Rule 11(b)’s requirement
28
                                                        15
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 1   that they personally investigate their claims against Defendants”); see also Veal v. LendingClub
 2   Corp., 423 F. Supp. 3d 785, 811–12 (N.D. Cal. 2019) (noting that “Plaintiffs may not rely on a
 3   third party’s investigation to satisfy their Rule 11 obligations” and dismissing fraud claims based
 4   entirely on uncorroborated allegations from an FTC investigation); Urenia v. Pub. Storage, No.
 5   CV 13-01934 DDP AJWX, 2015 WL 3378247, at *3 (C.D. Cal. May 7, 2015) (purported reliance
 6   on Los Angeles Times article insufficient to satisfy Rule 11’s reasonable inquiry requirement).
 7          Of course, the reasonableness of an attorney’s investigation depends on the circumstances
 8   and the specific facts being alleged. In some instances, it may be appropriate for an attorney to
 9   rely on a reputable news source’s reporting of certain types of facts. For example, courts have
10   suggested that it may be permissible under Rule 11 for an attorney to rely on a newspaper article
11   “reporting uncontroversial facts such as the public occurrence of an event, or the closing price of
12   a corporation's stock, or weather conditions.” Walker v. S.W.I.F.T. SCRL, 517 F. Supp. 2d 801,
13   806–07 (E.D. Va. 2007) (citing cases).
14          However, courts have found that blind reliance on third-party sources does not satisfy
15   Rule 11’s “reasonable inquiry” obligation in situations like the one here. In Walker, for example,
16   the court sanctioned an attorney for relying entirely on a New York Times article for factual
17   assertions where the article attributed those “facts” to “anonymous sources.” (Id.) (“Reliance on
18   anonymous sources is particularly troublesome under Rule 11 because unless the source is later
19   identified, there is no way to verify the reliability of the information.”). “To conclude otherwise
20   would allow parties to circumvent Rule 11's duty to conduct ‘an inquiry reasonable under the
21   circumstances,’ and would serve to reduce that duty to the mere purchase of a newspaper.” (Id.)
22   (internal citation omitted).
23          Similarly, a court in New York imposed Rule 11 sanctions where a party relied on an
24   article for the “central” allegation to the complaint’s “entire theory of fraud,” where “any
25   reasonable inquiry into the factual basis of the pleading would have prevented this mistake.” In
26   re Australia & New Zealand Banking Grp. Ltd. Sec. Litig., 712 F. Supp. 2d 255, 264 (S.D.N.Y.
27   2010) (noting that “[s]uch indifference to the truth of the pleading’s single most important factual
28   allegation” was particularly ironic “in the context of initiating a lawsuit that accuses another party
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 1   of making reckless misstatements of material fact”). As the District Court for the District of
 2   Colorado recently explained in sanctioning an attorney for relying on dubious media reports in
 3   asserting election fraud claims:
 4          Rule 11 imposes on lawyers a gatekeeper role, ensuring that potentially defamatory
            allegations are not made in public filings without an officer of the court having certified
 5          that a reasonable inquiry has been made as to their truth. Here, without making the
            necessary inquiries, Plaintiffs’ counsel copied into their Complaint inflammatory and
 6          damaging allegations from failed lawsuits and media reports. Plaintiffs’ counsel picked
 7          only the information, frequently from dubious sources, that supported their conspiracy
            theory, ignoring contrary available evidence, including statements from courts and non-
 8          partisan government agencies. They did not take any independent steps to verify the
            accuracy of the information by talking to actual human beings.
 9
     O'Rourke v. Dominion Voting Sys. Inc., No. 20-CV-03747-NRN, 2021 WL 3400671 (D. Colo.
10
     Aug. 3, 2021), modified on reconsideration, No. 20-CV-03747-NRN, 2021 WL 5548129 (D.
11
     Colo. Oct. 5, 2021).
12
            Courts also have not hesitated to sanction attorneys for relying on testing results by third-
13
     party “experts,” particularly where flaws in the testing would have been apparent from reasonable
14
     inquiry. See Ideal Instruments, Inc. v. Rivard Instruments, Inc., 243 F.R.D. 322, 342–43 (N.D.
15
     Iowa 2007) (“Under the circumstances of this case, it is simply no excuse for Rivard and its
16
     counsel to assert that they relied on an ‘expert’ for the basis for their original preliminary
17
     injunction motion, precisely because the flaws in the ‘expert's’ evidence should have been so
18
     readily apparent on any reasonable examination or inquiry.”).
19
            B.      Plaintiffs’ Attorneys Did Not Conduct a Reasonable Inquiry to Determine the
20                  Accuracy of the Key Allegation In This Lawsuit
21
            As in Walker, In re Australia, O'Rourke and Ideal Instruments, here Mr. Litteral and Ms.
22
     Miller utterly failed to conduct a reasonable inquiry. Instead, they blindly relied on an
23
     anonymous source, cited on a dubious internet blog (a far cry from the New York Times)
24
     authored by a blogger with an obvious financial interest in promoting Knix’s competitors, for the
25
     central factual allegation of their complaint. As an initial matter, Mr. Litteral’s PFAS lawsuits
26
     against other companies demonstrate that he understands that certain methods of fluorine testing –
27
     including the total fluorine method purportedly employed by Mamavation – may not indicate the
28
                                                        17
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 1   presence of PFAS. In his complaints in Solis and Hamman, for example, he explains that the
 2   investigations on which his allegations are based tested specifically for organic fluorine, which
 3   Mr. Litteral contends “identify a quantity of organofluorine compounds (e.g., PFAS) and
 4   excludes the possibility that fluorine may be present from other or natural sources.” See Solis,
 5   No. 3:22-cv-00400-BAS-NLS Dkt. No. 1 at ¶ 4 (S.D. Cal., Mar. 25, 2022); see also Hamman,
 6   No. 3:22-cv-00593-MMA-MSB, Dkt. No. 1 at ¶ 4 n.6 (S.D. Cal., Apr. 27, 2022); Hussain, No.
 7   4:22-cv-02258-HSG, Dkt. No. 1 at ¶ 4 n.6 (N.D. Cal., Apr. 11, 2022). Yet conspicuously absent
 8   from his complaint in the present case are any allegations that Mamavation – or Mr. Litteral
 9   and/or Ms. Miller – tested for organic fluorine or otherwise did anything to exclude the possibility
10   that its results may have been impacted by fluorine from sources other than PFAS or from
11   contamination.
12           But there is more. Any reasonable review of the Mamavation blog – from its admission
13   that the testing standard employed is not one that is used in the textile industry, to its
14   acknowledgement that positive total fluorine results require a second test to determine the
15   presence of organic fluorine, to its acknowledgement that positive fluorine results can occur from
16   contamination, to its bolded and underlined affiliate links – should have put Mr. Litteral and Ms.
17   Miller on notice that they should at least look into the factual basis for the purported positive
18   fluorine test results.
19           Even if it had not, Knix itself did just that in multiple letters to Mr. Litteral. See, e.g.,
20   Graham v. City of S. Lake Tahoe, No. 2:10-CV-2335 JAM-KJM, 2011 WL 2066769, at *2 (E.D.
21   Cal. May 25, 2011) (granting Rule 11 motion where plaintiff’s counsel refused to dismiss
22   defendant after being contacted by defendant’s counsel with evidence that his allegations were
23   baseless); Schoggen v. Hawaii Aviation Cont. Servs., Inc., No. CIV. 12-00049 LEK, 2012 WL
24   5354431, at *3 (D. Haw. Oct. 29, 2012), aff'd, 608 F. App'x 469 (9th Cir. 2015) (granting Rule 11
25   motion for failure to make reasonable and competent inquiry where plaintiff was on notice of
26   frivolousness of claim based on letter from defendant to plaintiff’s counsel).
27           It would have been easy for Mr. Litteral and Ms. Miller to investigate their claims before
28   filing suit. They could have reviewed the third-party test results available on Knix’s website that
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 1   show no detectable levels of PFAS or organic fluorine. They could have accepted Knix’s offer
 2   to discuss additional testing results that multiple labs have conducted with respect to Knix
 3   Leakproof products – all of which have reported no PFAS and no organic fluorine. If they did not
 4   want to “take Knix’s word for it,” Knix Leakproof Underwear retails for $23.00 to $28.00 per
 5   pair – for less than the cost of the filing fee for the complaint, they could have purchased over a
 6   dozen samples and sent them to an independent testing lab of their choice (presumably having
 7   filed dozens of PFAS lawsuits in the last two months, the Bursor firm should be capable of
 8   identifying an appropriate lab).
 9           Courts have required no less in awarding Rule 11 sanctions for failure to conduct a
10   reasonable pre-suit inquiry. For example, the Court of Federal Claims found that a trial court
11   abused its discretion in declining to grant Rule 11 sanctions where an attorney allowed his client
12   to proceed with a patent infringement claim without even obtaining and examining a sample of
13   the device at issue prior to filing suit:
14           The court noted that Judin or Van Der Wall could have asked the Postal Service
             for a device to examine, but failed to do so. Nor does the record indicate that
15           Judin or his counsel attempted to obtain the device, or a technical description of it,
             from HP or another vendor. Judin had explained that he did not do this because
16           the scanning devices were made to Government specifications and were not
17           readily available for disassembly because they were in use at Government
             installations. This explanation for not obtaining, or attempting to obtain, a sample
18           of the accused devices from the Postal Service or a vendor was described by the
             court as “lame.” The court noted that Judin could have purchased a device for a
19           minuscule amount, compared to the cost of the litigation. The court concluded
             that it was “greatly troubled by the quality of the plaintiff's pre-filing examination,
20
             as well as the signing attorney's undue deference to Mr. Judin.” . . . Under these
21           circumstances, there is no doubt that Judin failed to meet the minimum standards
             imposed by Rule 11, and his attorney acted unreasonably in giving blind
22           deference to his client and assuming his client had knowledge not disclosed to the
             attorney.
23
     Judin v. United States, 110 F.3d 780, 782-84 (Fed. Cir. 1997); cf. Abbott Point of Care, Inc. v.
24   Epocal, Inc., 908 F. Supp. 2d 1231, 1238–39 (N.D. Ala. 2012) (distinguishing Judin and
25   declining to award sanctions only because plaintiff “did actually obtain a sample of at least part of
26   the accused device [and] attempted to develop procedures to test [it], but the procedures either

27   proved ineffective, or they could not be implemented”) (emphasis in original).

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 1            C.      The Complaint Contains Several Other Inaccurate or Misleading Allegations
                      That Reflect a Lack of Reasonable Pre-Suit Investigation
 2

 3            In addition to their unsupported misrepresentation that Knix products contain fluorine,

 4   Plaintiffs make a number of other inaccurate or misleading representations regarding Knix, PFAS

 5   and fluorine that could have been avoided had their counsel conducted a reasonable pre-suit

 6   investigation instead of blindly relying on dubious internet bloggers. For example, Plaintiffs

 7   misleadingly allege that Knix “bases its non-harmful substances claims on the fact that its

 8   Products are OEKO-TEX certified” (FAC ¶ 50), when in fact Knix’s website makes clear that it

 9   engaged two separate laboratories to conduct ongoing PFAS and fluorine testing of finished Knix

10   products (in addition to OEKO-TEX’s certification of the supplier of the fabric used to

11   manufacture the products). (Ex. 7). At best, Plaintiffs’ contention that Knix “bases” its PFAS

12   statements on its supplier’s OEKO-TEX certification shows a complete lack of meaningful pre-

13   suit review by counsel. At worst, it suggests a deliberate attempt to mislead the Court.

14            Apparently conceding that they have no basis to allege that Knix products contain PFAS,

15   Plaintiffs next argue that the purported presence of fluorine is “independently concerning” by

16   misrepresenting various articles and internet sources. (FAC ¶ 51). Specifically, Plaintiffs

17   misrepresent sources discussing elemental fluorine – a highly toxic and unstable form of pure

18   fluorine that is different from PFAS, inorganic fluoride or any type of fluorine that could

19   conceivably be present in consumer products – to suggest that the presence of fluorine alone

20   indicates that a product is toxic or harmful. (FAC ¶¶ 52-54 (citing Exs. 3, 21-22)).26 For

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     26
          The sources Plaintiffs cite make clear that elemental solid fluorine exists only temporarily in
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     laboratory conditions because it only becomes solid at -220°C. In fact, scientists struggled for
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     decades to study elemental solid fluorine because the process of cooling it to the necessary
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     temperature resulted in explosions. In contrast, those sources explain that fluorine its compounds
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     are “an essential part of everyday life” and “can naturally be found in water, air, and both plant
26
     and animal-based foods in small amounts,” and that “all humans and animals are exposed to and
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     need minute amounts of fluorine.” See Technical University of Munich (TUM), "Fluorine: Toxic
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 1   example, one of the articles Plaintiffs cite states that “[e]lemental fluorine is highly toxic” and
 2   that its effects are “comparable to those of pure chlorine . . . .” (Ex. 3 (emphasis added)).
 3   Plaintiffs misleadingly omit the first part of the quote – noting that elemental fluorine is highly
 4   toxic – in order to suggest that the article applies to all forms of fluorine. (FAC ¶ 54). In fact, the
 5   article clearly explains that fluorine “rarely occurs in pure form,” that fluorine ions and
 6   compounds are found in several common foods and in water and that fluoride is “likely a
 7   micronutrient” in small amounts. (Ex. 3). The idea that solid elemental fluorine, which exists
 8   only at temperatures far below zero degrees (Ex. 21), is present in Knix products is laughable.
 9   Plaintiffs’ use of these sources to suggest that Knix’s products are unsafe is not – it is flat-out
10   misleading.
11            Plaintiffs also repeatedly and misleadingly conflate fluoride and fluorine to inaccurately
12   suggest that regulation of fluoride limits in drinking water has any relevance to safe levels of
13   fluorine (in any of its various forms) in consumer textile products. Specifically, Plaintiffs cite to
14   a “Fact Sheet” from the Association of State and Territorial Dental Directors noting that the EPA
15   has set a maximum limit of 4 ppm for fluoride for public water systems and that the U.S. Public
16   Health Service has recommended fluoride content of 0.7 ppm in public drinking water. (FAC ¶¶
17   56-57 (citing Ex. 23)).27 Plaintiffs claim that the EPA has found that “fluoride becomes
18   problematic to human health once that level is surpassed,” but the source they cite does not say
19
20   and aggressive, but widely used: Investigations with neutrons settle scientific dispute about the
21   structure of solid fluorine," ScienceDaily (Mar. 27, 2019), cited in the FAC at paragraph 52 and
22   attached as Exhibit 21, and also available at:
23   https://www.sciencedaily.com/releases/2019/03/190327112637.htm; Rachel Ross, “Facts About
24   Fluorine,” Live Science (Aug. 21, 2018), cited in the FAC at paragraph 53 and attached as
25   Exhibit 22, and also available at: https://www.livescience.com/28779-fluorine.html.
26   27
          A copy of Association of State and Territorial Dental Directors, “Natural Fluoride in Drinking
27   Water,” cited in the FAC at paragraphs 56-57, is attached as Exhibit 23, and also is available at:
28   https://www.astdd.org/docs/natural-fluoride-fact-sheet-9-14-2016.pdf.
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 1   that. (FAC ¶ 56). Even if it did, the fact that the EPA has set limits for fluoride in drinking water
 2   is irrelevant – Plaintiffs have not alleged that any Knix products contain fluoride (much less in
 3   amounts greater than 4 ppm), nor have they alleged that the presence of fluoride in a garment
 4   could pose similar health risks to that in drinking water.
 5          Finally, all PFAS are not created equal. Plaintiffs generically allege that studies have
 6   shown that PFAS may be harmful to human health or to the environment, but the cited studies
 7   involve only a handful of specific PFAS, none of which are alleged to be present in Knix
 8   products. (FAC ¶¶ 59-64). Indeed, Plaintiffs fail to identify a single specific PFAS that they
 9   claim is present in Knix products, much less any of the specific PFAS at issue in those studies or
10   at the levels involved therein. Yet they make inflammatory comments that the products are “not
11   safe,” “pos[e] a significant health risk” and “are not fit for use by humans.” (FAC ¶¶ 6, 28, 68).
12          These false and misleading statements that litter the FAC are not just ancillary allegations
13   – they go to the heart of Plaintiffs’ case. They suggest that counsel has either not read, or worse,
14   deliberately misrepresented several cited sources. Either way, sanctions are warranted under Rule
15   11.
16          D.      Plaintiffs’ FAC Should Be Stricken and Knix Should Be Awarded Costs of
                    Defense
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            Rule 11 empowers the Court to award monetary and non-monetary sanctions against Mr.
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     Litteral, Ms. Miller and Bursor & Fisher, P.A. “to deter repetition of the conduct or comparable
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     conduct by others similarly situated.” Fed. R. Civ. P. 11. Sanctions are warranted here to avoid a
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     flood of PFAS-related lawsuits based on shoddy science and unsubstantiated “testing” from
21
     dubious internet sources – as evidenced by the number of such lawsuits Bursor & Fisher, P.A.
22
     have filed in the last two months alone. See Note 25, supra.
23
            The Court has considerable discretion with respect to ordering Rule 11 sanctions. Among
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     the “arsenal of options” available to the Court are “striking the offending paper.” See Atkins v.
25
     Fischer, 232 F.R.D. 116, 126 (D.D.C. 2005) (quoting 1993 Advisory Committee Notes). Indeed,
26
     “[g]iven the nondelegable duty imposed on attorneys under Rule 11, courts
27
     routinely strike allegations that rely exclusively on the analysis and investigation” of third parties.
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                                                        22
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 1   Attia, 2018 WL 2971049, at *15 (striking portion of complaint that “merely recites the allegations
 2   and proceedings in six other lawsuits without indicating that Plaintiffs’ attorneys conducted ‘a
 3   reasonable factual investigation’ into those claims before filing”). Additionally, Rule 11
 4   authorizes the Court to award “all of the reasonable attorney’s fees and other expenses directly
 5   resulting from the violation” and for “the reasonable expenses, including attorney’s fees, incurred
 6   for the [sanctions] motion.” Fed. R. Civ. P. 11(c)(2), (4). As the Ninth Circuit has explained, an
 7   award of attorney fees can be “an appropriate deterrent to future frivolous suits.” Cook v. Peter
 8   Kiewit Sons Co., 775 F.2d 1030, 1037 (9th Cir. 1985) (quoting Callow v. Amerace Corp., 681
 9   F.2d 1242, 1243 (9th Cir. 1982)) (affirming sanctions).
10          The Court should do both here. Mr. Litteral and Ms. Miller have made a statement of
11   purported fact – that Knix products contain fluorine indicative of PFAS – in a publicly filed court
12   document without conducting a reasonable inquiry into the truth of that assertion. Their previous
13   filings in other lawsuits suggest that they have made that statement with knowledge of its
14   inaccuracy. That statement has resulted in reputational harm to Knix (it has been repeated by
15   multiple media outlets since filing) and has caused customers to seek refunds for Knix purchases.
16   The only appropriate way to address that harm is for this Court to issue an order publicly
17   confirming that those statements were made without reasonable investigation and striking them
18   from the record in this lawsuit. See, e.g., Attia, 2018 WL 2971049, at *15; In re Connetics Corp.,
19   542 F. Supp. 2d at 1005-06 (striking allegations made without reasonable independent
20   investigation pursuant to Rule 11, and granting simultaneously-filed motion to dismiss because
21   “the complaint cannot possibly make sufficient allegations against these defendants in the
22   absence of the stricken paragraphs”); Brooks v. United Dev. Funding III, L.P., No. 4:20-CV-
23   00150-O, 2020 WL 6132230, at *13 (N.D. Tex. Apr. 15, 2020) (striking allegations taken from
24   third-party source where “Plaintiffs and their attorneys have not provided the Court with any
25   certification that they independently investigated the allegations prior to their wholesale
26   incorporation into the Amended Complaint”); Maine State Ret. Sys. v. Countrywide Fin. Corp.,
27   No. 2:10-CV-0302 MRP, 2011 WL 4389689, at *21 (C.D. Cal. May 5, 2011) (“Because Plaintiffs
28   have not reasonably investigated the allegations they copied from complaints in other cases, the
                                                      23
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 1   Court GRANTS Defendant Sieracki’s motion to strike.”); cf. Gergawy v. United States Bakery,
 2   Inc., No. 2:19-CV-00417-SAB, 2022 WL 395308, at *15 (E.D. Wash. Feb. 8, 2022) (striking
 3   affidavit containing falsified evidence under Rule 11 after finding such sanctions “necessary in
 4   this instance to preserve the integrity of the legal profession and judicial system”).
 5            Additionally, because the absence of any reasonable investigation prior to the filing of the
 6   FAC necessitated a response from Defendants (in the form of a motion to dismiss, as well as this
 7   motion), an award of attorneys’ fees sufficient to reimburse Knix for their reasonable costs of
 8   defending this matter are appropriate, including all costs incurred in preparing this motion and
 9   Knix’s motion to dismiss the FAC.28 See, e.g., Mogan v. Sacks, Ricketts & Case LLP, No. 21-
10   CV-08431-TSH, 2022 WL 119212, at *4 (N.D. Cal. Jan. 12, 2022) (awarding reasonable costs
11   and attorneys’ fees for filing of frivolous lawsuit and failure to conduct reasonable pre-suit
12   inquiry); Abbas v. Vertical Ent., LLC, No. 2:18-CV-7399-CBM-AFM, 2019 WL 8012677, at *3
13   (C.D. Cal. Oct. 18, 2019), aff'd, 854 F. App'x 816 (9th Cir. 2021) (awarding defendants over
14   $50,000 in attorneys’ fees for drafting motion to dismiss and Rule 11 motion where plaintiff’s
15   attorney failed to investigate false jurisdictional allegations); Hunt v. Sunny Delight Beverages
16   Co., No. 8:18-cv-00557-JLS-DFM, 2018 WL 6786265, at *5 (C.D. Cal. Dec. 18, 2018) (striking
17   consumer class action complaint and also awarding defendant attorneys’ fees for drafting
18   sanctions motion and motion to dismiss); cf. Rattagan v. Uber Techs., Inc., No. 19-CV-01988-
19   EMC, 2019 WL 3891714, at *5 (N.D. Cal. Aug. 19, 2019) (striking complaint for failure to make
20   reasonable pre-suit inquiry and awarding defendant attorneys’ fees for preparing Rule 11 motion,
21   but declining to award costs for preparing motion to dismiss because the court did not reach the
22   arguments raised in that motion).
23   IV.      CONCLUSION
24            For the foregoing reasons, Defendant’s Motion for Sanctions under Rule 11 should be
25   granted and Defendants should be awarded their costs of defending this lawsuit.
26

27   28
          Knix will submit billing records from counsel sufficient to show the costs and attorneys’ fees
28   incurred in connection with this motion and its motion to dismiss upon order from the Court.
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 1   Date: June 11, 2022                         HOGAN LOVELLS US LLP
 2

 3                                          By: /s/ Michael M. Maddigan
                                                Michael M. Maddigan (Bar No. 163450)
 4                                              Attorney for Defendant
                                                KNIX WEAR INC.
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 1                                    CERTIFICATE OF SERVICE
 2          I certify, pursuant to 28 U.S.C. §1746, that I caused a copy of Defendant’s Motion for
 3   Sanctions pursuant to Rule 11, together with supporting declarations and exhibits, to be served on
 4   counsel of record for Plaintiffs, Sean Litteral, at slitteral@bursor.com by email on May 19, 2022,
 5   that Mr. Litteral consented in writing to service of this Motion by email in accordance with Fed.
 6   R. Civ. P. 5(b)(2)(E), and that Mr. Litteral acknowledged receipt of the Motion on May 20,
 7   2022. Thus, service was effected more than 21 days before the filing of this motion in accordance
 8   with Fed. R. Civ. P. 11(c)(2).
 9                                                    /s/ Lauren S. Colton
10                                                    Lauren S. Colton

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